Case 3:20-cv-06754-WHA   Document 793-2   Filed 06/02/23   Page 1 of 7




             ATTACHMENT 2
     Case 3:20-cv-06754-WHA    Document 793-2   Filed 06/02/23   Page 2 of 7



MK-11717
Designation List Report




             MacKay, Kenneth                            2022-05-10



             Cross Clips                                   00:00:29
             TOTAL RUN TIME                               00:00:29




                                                                         ID: MK-11717
           Case 3:20-cv-06754-WHA            Document 793-2           Filed 06/02/23    Page 3 of 7
                                                   MK-11717
DESIGNATION       SOURCE                                                           DURATION           ID

117:17 - 117:24   MacKay, Kenneth 2022-05-10                                        00:00:29     MK-11717.1
                  117:17     you
                  117:18     agree that a speaker group is something that is
                  117:19     saved by a user in advance of being launched?
                  117:20 A. Well, again, the -- the group might never
                  117:21     be launched. Like you might never cast to the
                  117:22     group. So it's -- I would characterize it as -- a
                  117:23     static group is something that the user configures
                  117:24     and it's saved persistently.



                     Cross Clips                                                  00:00:29
                     TOTAL RUN TIME                                               00:00:29




                                                    Cross Clips                                               2/2
     Case 3:20-cv-06754-WHA    Document 793-2   Filed 06/02/23   Page 4 of 7



MK-9514
Designation List Report




             MacKay, Kenneth                            2022-05-10



             Cross Clips                                   00:00:23
             TOTAL RUN TIME                               00:00:23




                                                                          ID: MK-9514
           Case 3:20-cv-06754-WHA          Document 793-2          Filed 06/02/23       Page 5 of 7
                                                  MK-9514
DESIGNATION      SOURCE                                                            DURATION           ID

 95:14 - 95:20   MacKay, Kenneth 2022-05-10                                         00:00:23     MK-9514.1
                 95:14      focusing
                 95:15      specifically on -- on whichever player is currently
                 95:16      elected as the leader of a particular group, will
                 95:17      that player store in memory identifiers of each
                 95:18      device that is currently a follower of that group?
                 95:19   A. It stores information about the followers
                 95:20      that are currently connected to it.



                    Cross Clips                                                   00:00:23
                    TOTAL RUN TIME                                                00:00:23




                                                   Cross Clips                                               2/2
     Case 3:20-cv-06754-WHA   Document 793-2   Filed 06/02/23   Page 6 of 7



MK-5519
Designation List Report




             Mackay, Ken                               2023-01-25



             Cross Clips                                  00:00:15
             TOTAL RUN TIME                              00:00:15




                                                                         ID: MK-5519
           Case 3:20-cv-06754-WHA          Document 793-2          Filed 06/02/23        Page 7 of 7
                                                  MK-5519
DESIGNATION      SOURCE                                                         DURATION               ID

 55:19 - 55:22   Mackay, Ken 2023-01-25                                              00:00:13     MK-5519.1
                 55:19   Q. BY MR. SHEA: Right. It's not going to -- the
                 55:20      StopCurrentApp() function in this case is not going to
                 55:21      cause any change to -- to the operational behavior of the
                 55:22      player; correct?
 55:24 - 55:24   Mackay, Ken 2023-01-25                                              00:00:02     MK-5519.2
                 55:24      THE WITNESS: Yes.



                    Cross Clips                                                 00:00:15
                    TOTAL RUN TIME                                             00:00:15




                                                  Cross Clips                                                 2/2
